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UNITI:`.D S'I`ATF.S OF AMERICA
UNl'l`ED STATES DISTRICT COURT: WESTERN DISTRIC'I` OF NEW YORK

 

MISTY FREEMAN,
lndex No. I: l7-CV~00683
P|aintif`f,

-vs-
STlPULA'l`ION AND ORDER

CITY OF JAMF.STOWN POLICE OFFlCER ELLIS,
CITY OF JAMESTOWN POLICE SGT. BENDER,
Cl'I`Y OF JAMESTOWN POLICE LT. JACKSON and
Cl'l`Y OF JAMESTOWN POLICE OFC. J()HN DOE(S)

Defendants.

 

lT IS HEREBY STIPULATED AND AGREED between thc attorneys for the
undersigned, that:

l. The pending motion to compel and the accompanying motion for sanctions, Docket No.
IS, filed by Plaintiff, will be withdrawn with prejudice.

2. Pursuant to Rulc l$(a)(Z) of the Federal Rules of Civil Procedure, the Dcfcndants give
consent to the Plaintil`l` to amend her complaint.

3. To the extent service of process is required, thc filing of such complaint on the ECF
(electronic filing systcm), will constitute suflicient service.

Dated: Buffalo, New York

 

 

 

Octobcr 24, 201 s /
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